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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                         )
    LEAGUE OF WOMEN VOTERS OF THE                        )
    UNITED STATES, et al.,                               )
                                                         )
                                       Plaintiffs,       )
                                                         )   Civil Action No. 1:16-236 (RJL)
    v.                                                   )
                                                         )
    MONA HARRINGTON 1, et al.,                           )
                                                         )
                                     Defendants,         )
                                                         )
    KANSAS SECRETARY OF STATE SCOTT                      )
    SCHWAB and PUBLIC INTEREST LEGAL                     )
    FOUNDATION,                                          )
                                                         )
                         Defendant-Intervenors.          )
                                                         )
    EAGLE FORUM EDUCATION & LEGAL                        )
    DEFENSE FUND,                                        )
                                                         )
                    Limited-Purpose Intervenor.          )
                                                         )

                                    JOINT STATUS REPORT
         In response to the Court’s Order dated October 21, 2020, the parties have met and conferred

and hereby submit to the Court this joint status report regarding the status of proceedings following

the August 19, 2020 Judgment and Mandate of the U.S. Court of Appeals for the District of

Columbia Circuit.

         A.     With respect to the parties’ cross-motions for summary judgment, including all

briefs and supplemental briefs in support thereof and opposition thereto, see ECF Nos. 101-102,

104, 107, 112, 114-116, 119-122, 145-148 & 151-154, the parties state as follows:




1
 Mona Harrington has been substituted for Brian D. Newby as Defendant in this case pursuant to
Rule 25(d) of the Federal Rules of Civil Procedure.

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              1.        Plaintiffs respectfully submit that the Court would benefit from briefing

       regarding various developments since the parties submitted their cross-motions for

       summary judgment.

                        a.     Among other things, following trial, the U.S. District Court for the

              District of Kansas permanently enjoined Kansas’s documentary proof of

              citizenship law, a decision that was upheld by the United States Court of Appeals

              for the Tenth Circuit. See Fish v. Schwab, 957 F.3d 1105 (10th Cir. 2020). The

              Supreme Court earlier this week declined to review the 10th Circuit’s decision. See

              Schwab v. Fish, No. 20-109, 2020 U.S. LEXIS 6051 (Dec. 14, 2020). In addition,

              Defendant Brian Newby is no longer the Executive Director of the U.S. Election

              Assistance Commission. Mona Harrington is the current Executive Director.

              Plaintiffs also understand that Georgia and Alabama, which never intervened in this

              case, are not enforcing their documentary proof of citizenship laws. See Doc. 27 at

              11. 2

                        b.     Plaintiffs further submit that these developments raise significant

              issues as to whether Mr. Newby’s actions in response to the request of Intervenor

              Kansas to require documentary proof of citizenship is now moot. Even assuming

              this action is not moot, court decisions under the Administrative Procedure Act

              provide further grounds for the entry of judgment in Plaintiffs’ favor that the

              Executive Director lacked unilateral authority to alter longstanding Commission

              policy.

                        c.     Accordingly, Plaintiffs propose filing a supplemental brief of no

              more than five (5) pages on or by January 29, 2021; Intervenor-Defendants Kansas

              Secretary of State (“Kansas”) and Public Interest Legal Foundation (“PILF”) would

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   See also Alabama Mail-In Voter Registration Form (no DPOC required), available at
https://www.sos.alabama.gov/sites/default/files/voter-pdfs/nvra-
2.pdf?ga=2.238944256.1246739288.1596646523-1759311593.1596646523; Georgia Application
for Voter Registration (same), available at https://sos.ga.gov/admin/files/GA_VR_APP_2019.pdf.

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               each provide their supplemental brief, if any, of no more than five (5) pages by

               February 26, 2021; Defendants would provide their supplemental brief, if any, of

               no more than ten (10) pages by March 26, 2021; and Plaintiffs, Intervenor-

               Defendant Kansas, and Intervenor-Defendant PILF each would be permitted to file

               a reply, if any, of no more than five (5) pages by April 16, 2021.

               2.      Defendants agree that supplemental briefing is warranted to bring the

       pending cross-motions for summary judgment up to date, and further agree that such

       briefing should follow the schedule provided in paragraph A.1.c. supra.

               3.      Intervenor-Defendant Kansas believes no further briefing is warranted or

       required for the Court to resolve the parties’ cross-motions for summary judgment.

       However, to the extent the Court agrees with Plaintiffs and Defendants that supplemental

       briefing on the pending cross-motions for summary judgment is appropriate, Intervenor-

       Defendant Kansas agrees that such briefing should follow the schedule provided in

       paragraph A.1.c. supra.

               4.      Intervenor-Defendant PILF believes no further briefing is warranted or

       required for the Court to resolve the parties’ cross-motions for summary judgment.

       However, to the extent the Court agrees with Plaintiffs and Defendants that supplemental

       briefing on the pending cross-motions for summary judgment is appropriate, Intervenor-

       Defendant PILF agrees that such briefing should follow the schedule provided in paragraph

       A.1.c. supra.

       B.      With respect to whether any supplemental briefing is necessary on limited-purpose

intervenor Eagle Forum Education and Legal Defense Fund’s (“EFELDF”) motion to unseal the

record, the parties state as follows:

               1.      EFELDF respectfully submits that the Court would benefit from a renewed

       motion to unseal the record, which motion shall incorporate any relevant legal

       developments since briefing was completed on EFELDF’s motion, ECF No. 135, omit

       materials that have now become extraneous (e.g., materials related to intervention), and –

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if allowed access to the sealed materials – develop and support the factual arguments for

unsealing all or parts of documents. EFELDF further submits that EFELDF should be

permitted access to the sealed materials under the current protective order, ECF No. 42, by

the terms of that order in EFELDF’s capacity as a limited-purpose intervenor (i.e.,

EFELDF would be bound by the protective order, and disclosure to EFELDF would not

violate the order as public disclosure). While EFELDF does not dispute that a limited-

purpose intervenor can brief the unsealing of documents the intervenor has not seen,

EFELDF’s briefing of these issues would be more illuminating if EFELDF could contest

Defendants’ claims of good faith after EFELDF has reviewed what Defendants seek to

keep from public disclosure.

               a.     If the Court allows EFELDF to access the sealed materials based on

       the current record, EFELDF proposes filing a renewed motion to unseal within 30

       days from the date of the Court’s order granting EFELDF access; any other party

       wishing to file a response in support of EFELDF’s motion would have 7 days from

       the date on which EFELDF files its motion to do so; Defendants would have 60

       days from the date on which EFELDF files its motion to respond thereto; any other

       party wishing to file a response in opposition to EFELDF’s motion or in support of

       Defendants’ response would have 7 days from the date on which Defendants’ file

       their response to do so; and EFELDF would have 21 days from the date of

       Defendants’ response to reply.

               b.     If the Court does not allow EFELDF to access the sealed materials

       based on the current record, EFELDF proposes filing a motion for leave to review

       the sealed materials documents within 14 days from the date of the Court’s order,

       while reserving the right to petition the appellate panel to recall and clarify the

       mandate; any other party wishing to file a response in support of EFELDF’s motion

       would have 7 days from the date on which EFELDF files its motion to do so;

       Defendants would have 21 days from the date on which EFELDF files its motion

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       to respond thereto; any other party wishing to file a response in opposition to

       EFELDF’s motion or in support of Defendants’ response would have 7 days from

       the date on which Defendants’ file their response to do so; and EFELDF would

       have 21 days from the date of Defendants’ response to reply. Within 30 days of

       final resolution of EFELDF’s request for access to the sealed materials, EFELDF

       would file its renewed motion to unseal; Defendants would have 60 days from the

       date on which EFELDF files its motion to unseal respond thereto; any other party

       wishing to respond to EFELDF’s motion or Defendants’ response would have 7

       days from the date on which Defendants’ file their response to do so; and EFELDF

       would have 21 days from the date of Defendants’ response to reply.

       2.      Defendants respectfully submit that no supplemental briefing is necessary

as to EFELDF’s motion to unseal the record, ECF No. 135, as the already-filed briefs on

EFELDF’s motion to intervene, see ECF Nos. 135-3, 138-1 & 139, contain extensive

argument on whether the sealed materials should remain sealed. Defendants further state

that they oppose any effort by EFELDF to access the sealed materials. EFELDF’s status

as intervenor for the limited purpose of moving to unseal the record does not entitle

EFELDF to access the materials over which Defendants have asserted privileges under the

protective order, ECF No. 42; nor does EFELDF need access to the sealed material for

purposes of its motion to unseal. See, e.g., Opinion at 6-7, ECF No. 130, Metlife, Inc. v.

Fin. Stability Oversight Counsel, No. 15-45 (D.D.C. Sept. 18, 2018); Order, ECF No. 120,

Metlife, Inc. v. Fin. Stability Oversight Counsel, No. 15-45 (D.D.C. Nov. 8, 2017).

               a.     Should the Court decline to grant EFELDF access to the sealed

       materials on the current record, Defendants agree that briefing on EFELDF’s

       proposed motion for leave to review the sealed materials, should follow the

       schedule provided in paragraph B.1.b. supra.

               b.     Should the Court grant EFELDF access to the sealed materials on

       the current record, Defendants respectfully submit that EFELDF’s access should be

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              subject to the terms of the protective order, ECF No. 42, and agree that briefing on

              EFELDF’s motion to unseal the record should follow the schedule provided in

              paragraph B.1.a. supra.

              3.     Plaintiffs take no position on the issues in this paragraph B. concerning

      supplemental briefing on EFELDF’s motion to unseal the record.

              4.     Intervenor-Defendant Kansas requests the opportunity to file a

      supplemental brief and/or response according to the schedule outlined above at paragraphs

      B.1.a and b, should the Court allow supplemental briefing on these issues.

              5.     Intervenor-Defendant PILF requests the opportunity to file a supplemental

      brief and/or response according to the schedule outlined above at paragraphs B.1.a and b,

      should the Court allow supplemental briefing on these issues.


Dated: December 21, 2020                           Respectfully submitted,

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